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                                                            CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                         FILED
                                                                                     10/31/2018
                           IN THE UNITED STATES DISTRICT COURT
                                                                                   JULIA C. DUDLEY, CLERK
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                   BY: /s/ J. JONES
                                    Charlottesville Division
                                                                                      DEPUTY CLERK
   BONUMOSE BIOCHEM, LLC et al.,                )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00033
                                                )
   v.                                           )       MEMORANDUM OPINION & ORDER
                                                )
   YI-HENG PERCIVAL ZHANG et al.,               )       By:     Joel C. Hoppe
        Defendants.                             )               United States Magistrate Judge

          The Plaintiffs, Bonumose Biochem, LLC and Bonumose LLC (collectively

   “Bonumose”), bring this action alleging that Defendants, Yi-Heng Percival Zhang (“Zhang”) and

   Cell-Free Bioinnovations, Inc. (“CFB”) (collectively “Defendants”), misappropriated

   Bonumose’s confidential and trade secret information relating to Tagatose. This matter is before

   the Court on Bonumose’s Motion to Compel and For an Order to Show Cause Why Sanctions

   Should Not Be Imposed, ECF No. 160. The motion has been fully briefed, see ECF Nos. 161,

   172, 177, and the Court held a telephonic hearing on October 12, 2018, at which the parties

   appeared by counsel, ECF No. 185.

                               I. Discovery Requests and Party Positions

          The current dispute concerns whether Defendants failed to produce information or

   documents in their possession relating to Zhang’s contacts with the Tianjin Institute of

   Biotechnology (“Tianjin”). The specific requests at issue are Bonumose’s requests for production

   of documents served on both Defendants in March 2018, see Pls.’ Mot. to Compel, Exs. C, D,

   ECF Nos. 160-6 to 160-7, and Bonumose’s interrogatories served on Defendant Zhang in April

   2018, id. Ex. G, ECF No. 160-10. In each request, Bonumose sought information concerning

   communications and dealings between Defendants and Tianjin, including those related to

   Tagatose. See id.



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         Bonumose alleges that since serving its discovery requests, “Defendants have produced

  little information involving Defendants and Tianjin and repeatedly . . . represented to Bonumose

  and the Court that no additional discoverable documents or information exist.” Pls.’ Br. in Supp.

  of Mot. to Compel (“Pls.’ Br.”) 2, ECF No. 161. Bonumose further alleges that pursuant to a

  subpoena duces tecum it issued to Virginia Polytechnic Institute and State University (“Virginia

  Tech”), in September 2018 it received documents purportedly showing dealings involving Zhang

  and Tianjin that Defendants had not produced in discovery. See Decl. of Erik Stidham ¶¶ 2–4

  (Sept. 21, 2018), ECF No. 160-2. Among these documents was a September 2016 Chinese-

  language contract between Tianjin and Chengdu Yuanhong Biotech Co., Ltd. (the “Chengdu

  Contract”) that listed Defendant Zhang as the “Project Contact Person” for Tianjin, Pls.’ Br. 2–3

  (citing Pls.’ Mot. to Compel, Exs. A, B, ECF Nos. 160-4 to 160-5), and an article listing Tianjin

  in the header and Zhang as the author (the “Zhang Article”) describing a scientific process

  related to Tagatose, id. at 8 n.2 (citing Pls.’ Mot. to Compel, Exs. K, L, ECF Nos. 160-14 to 160-

  15).

         Bonumose argues that Virginia Tech’s document production includes “potentially case-

  dispositive evidence” that shows “Defendants and their counsel wrongfully withheld responsive

  documents and failed to preserve information undisputedly related to the litigation.” Pls.’ Reply

  Br. in Supp. of Mot. to Compel. (“Pls.’ Reply Br.”) 1, ECF No. 173. Accordingly, Bonumose

  seeks an order from this Court under Rule 37 of the Federal Rules of Civil Procedure requiring,

  among other things, that an independent third-party vendor take control of and search all

  information in the custody and control of Defendants and that Defendants make available for

  deposition the custodian of their documents. Pls.’ Br. 11–12. Bonumose further asks this Court to

  enter an order requiring Defendants to show cause why sanctions should not be imposed under



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  28 U.S.C. § 1927 or the Court’s inherent power as described in Chambers v. NASCO, Inc., 501

  U.S. 32, 44–45 (1991).

          In response, Defendants contend that they took appropriate steps to preserve and produce

  relevant discovery materials, including their counsel’s issuance of a litigation hold to Defendants

  and use of broad search terms to collect information responsive to Bonumose’s requests. See

  Defs.’ Br. in Opp’n to Pls.’ Mot. to Compel (“Defs.’ Br.”) 3, ECF No. 172. Defendants also

  assert, however, that in September 2017, federal law enforcement agents arrested Zhang

  “without any advanced notice to counsel or otherwise . . . .” Id. at 4. Concurrent with the arrest,

  agents searched his home and seized files, computers, cell phones, and other materials. Id. They

  further explain that although Zhang was released on bond in December 2017, he has not had

  access to the materials seized by law enforcement, nor has he been able to access his email

  account with Tianjin. 1 Id. Defendants argue that they did not have possession, custody, or control

  of the materials potentially responsive to Bonumose’s discovery requests and thus had no duty to

  produce them. See id. at 12.

          Furthermore, Defendants argue that sanctions under Rule 37 are improper in this case

  because counsel for Bonumose did not meet and confer in good faith with Defendants’ counsel

  prior to filing the instant motion. See Defs.’ Br. 10. Defendants also argue that sanctions are not

  appropriate because they did not act with subjective bad faith to spoliate or deliberately withhold

  responsive information, nor did they violate a standing court order. Id. at 11–18.

                                               II. Discussion

  A.      Relevant Background and Procedural History


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    Defendants assert that Zhang was able to gain partial access to his Virginia Tech email account by
  logging in and downloading information onto his laptop, but he apparently experienced technical
  difficulties, which Defendants state they “will seek to remedy” Defs.’ Br. 4.

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         This case arises out of an allegedly improper disclosure by Defendants of confidential

  and trade secret information belonging to Bonumose. According to Plaintiffs, in April 2016,

  Defendants transferred to Bonumose the intellectual property rights and certain confidential and

  trade secret information related to the production of Tagatose. Second Am. Compl. ¶¶ 68–69,

  ECF No. 150. Tagatose is a naturally occurring sugar found in certain grains, fruits, dairy, and

  the cacao tree that can serve as an alternative to table sugar without many of the adverse health

  effects. See id. ¶ 14. Accordingly, the ability to synthetically produce Tagatose has significant

  commercial implications. See id. ¶ 16. Pursuant to the April 2016 agreement, Defendants were

  prohibited from competing against Bonumose with regard to the production of Tagatose or from

  disclosing information about Tagatose production to any third parties. Id. ¶ 70.

         According to Bonumose, sometime after entering into the April 2016 agreement,

  Defendants wrongfully provided confidential information concerning Tagatose to Tianjin. Id.

  ¶ 78. On November 1, 2016, Tianjin filed a patent application for the production of Tagatose that

  mirrored a provisional patent application that Bonumose had filed. See id. ¶ 86. The Tianjin

  application included two named inventors, but also “contain[ed] an unusual statement that ‘other

  inventors request[ed] an unlisted name.’” Id. ¶ 88. Bonumose believes Zhang to be one of the

  anonymous co-inventors listed in this application. Id. ¶ 89. On May 16, 2017, Bonumose filed

  the present suit against Defendants. Compl., ECF No. 1. Plaintiffs assert claims for breach of

  contract, misappropriation of trade secrets, conversion, and fraud. See Second Am. Compl. ¶¶

  102–75.

         On March 30, 2018, Bonumose propounded two separate requests for production to

  Defendants Zhang and CFB. In pertinent part, these requests asked Defendants to provide

  Bonumose with all documents in their possession relating to Tianjin. Pls.’ Mot. to Compel, Ex.



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  C, at 3–4; id. Ex. D, at 3. On or around April 30, 2018, Zhang and CFB responded to these

  requests indicating that, subject to certain objections and limitations, they would provide

  responsive materials. Id. Ex. E, at 8–10, ECF No. 160-8; id. Ex. F, at 11, ECF No. 160-9. On

  April 16, 2018, Bonumose submitted interrogatories to Zhang asking him to “[d]escribe all of

  [his] interactions with Tianjin University or any of its affiliates . . . since January 1, 2015.” Id.

  Ex. G, at 3. Zhang responded with certain objections, including the limitation that he

  “construe[d] this [i]nterrogatory to call for disclosure of any communications with any

  representative of Tianjin . . . on or after April 1, 2016[,] regarding confidential information

  concerning the Assigned Assets.” 2 Id. Ex. H, at 10, ECF No. 160-11. He then stated that “no

  such interactions have occurred.” Id.

          On July 2, 2018, the parties appeared via telephone for a hearing on various discovery

  disputes, including Defendants’ purportedly insufficient responses to Bonumose’s interrogatories

  and requests for production of documents. ECF No. 76. Counsel for Plaintiffs was particularly

  concerned with Defendants’ refusal to provide information concerning Tianjin, see July 2, 2018

  Hr’g Tr. 6:6–8, ECF No. 82, and with Defendants’ rewriting the relevant timeframe for

  interrogatory responses from January 1, 2015, to April 1, 2016, see id. at 67:6–22. During the

  hearing, counsel for Defendants insisted that they had produced all relevant documents

  concerning the relationship between Defendants and Tianjin. See id. at 79:10–20 (“We have

  disavowed in writing that there were any communications with Tianjin regarding any

  confidential information regarding Tagatose. We have produced any document between

  ourselves and Tianjin that would have hit on the term Tagatose and a number of other search


  2
   The “assigned assets” generally refers to the intellectual property rights to certain confidential and trade
  secret information related to production of Tagatose acquired by Bonumose in April 2016. See Second
  Am. Compl. ¶¶ 69–70.

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  terms that we applied.”); id. at 80:16–24 (responding “[t]hat’s right” to the Court’s question

  whether Defendants’ counsel had produced everything that they were aware of that would be

  responsive to a request for communications between Zhang and Tianjin about Tagatose); id. at

  87:24–88:11 (“I’ll go back and ask my client again, but . . . . [t]here were no disclosures relating

  to Tagatose. There ha[ve] been no documents reflecting any disclosures relating to Tagatose . . . .

  But with respect to your Honor’s request that anything that bears on Tagatose be produced and

  all of those disclosures be provided, we will do that to the extent that we haven’t already. And,

  frankly, I believe that we have, at least with respect to materials in our possession, custody, and

  control.”). Moreover, Counsel for Defendants assured the Court that they would “provide

  information regarding any allegedly improper disclosure to Tianjin prior to [April 1, 2016].” Id.

  at 70:14–21.

         On or around July 17, 2018, Zhang provided the following information in a supplemental

  interrogatory response:

                 Between January 1, 2015 and April 1, 2016, Prof. Zhang had limited
         interactions with [Tianjin] relating to tagatose-related technologies. Prof. Zhang’s
         tagatose-related interactions with [Tianjin] during this period were exclusively to
         discuss a potential investment by [Tianjin] in CFB and/or partnership between
         [Tianjin] and CFB. Prof. Zhang did not disclose any confidential information
         relating to CFB’s tagatose technology during those interactions, as [Tianjin]
         declined to execute a non-disclosure agreement.
                 Prof. Zhang has not, at any time (including after April 1, 2016), disclosed
         to [Tianjin] any confidential information relating to tagatose-related Assigned
         Assets, as that phrase appears in the AASA.

  Pls.’ Mot. to Compel, Ex. J, at 13–14, ECF No. 160-13.

         On August 30, 2018, the parties again appeared by telephone to discuss various discovery

  disputes. ECF No. 140. At that hearing, counsel for Defendants again insisted that they had

  produced all relevant information relating to the relationship between Defendants and Tianjin:



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                 My point is that we have not withheld information relating to any
         relationship between ourselves and Tianjin as relates to tagatose. . . . [T]he
         universe we’re living in is that we have turned ourselves upside down; we have
         answered questions; we have sought, at least, to meet and confer with counsel
         over whether further information is provided or is necessary or appropriate . . . .
         And they are saying “I don’t believe you,” which is their right. But I don’t know
         what else we can provide that would . . . dispel that. Certainly nothing that would
         be relevant or fair or proportional.

   Aug. 30, 2018 Hr’g Tr. 21:22–22:12, ECF No. 157.

         Plaintiffs filed the instant motion on September 21, 2018, after having received

  documents responsive to their Virginia Tech subpoena on September 7, 2018. See Decl. of Erik

  Stidham ¶ 2. On October 2, Bonumose received a small document production from counsel for

  Defendants, which contained another copy of the Zhang Article. See Pls.’ Reply Br., Decl. in

  Supp. ¶¶ 3–4, ECF No. 174-1. On that same day, Defendants filed their brief in opposition to

  Bonumose’s motion.

  B.     Meet and Confer Requirement

         As a threshold matter, I must determine whether Bonumose should have further conferred

  or attempted to confer with Defendants prior to filing their Motion to Compel. Rule 37 permits a

  party seeking discovery to move for an order compelling production where another party fails to

  answer an interrogatory under Rule 33 or fails to produce documents under Rule 34. Fed. R. Civ.

  P. 37(a)(3)(B)(iii)–(iv). The Rule also provides that any such “motion must include a

  certification that the movant has in good faith conferred or attempted to confer with the person or

  party failing to make a disclosure or discovery in an effort to obtain it without court action.” Fed.

  R. Civ. P. 37(a)(1). Rule 37(a)(5) addresses cost-shifting sanctions: “If the motion [to compel] is

  granted . . . the court must . . . require the party or deponent whose conduct necessitated the

  motion, the party or attorney advising that conduct, or both to pay the movant’s reasonable

  expenses incurred in making the motion, including attorney’s fees.” Fed. R. Civ. P. 37(a)(5)(A).

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  The rule instructs that the court must not order such payment if “the movant filed the motion

  before attempting in good faith to obtain the disclosure or discovery without court action.” Fed.

  R. Civ. P. 37(a)(5)(A)(i).

         Here, Bonumose appended to its motion to compel a declaration by Erik Stidham,

  counsel for Plaintiff, stating that “[t]hroughout the course of discovery in the above-captioned

  matter, we repeatedly have voiced our concerns to Defendants, and met and conferred, about the

  minimal discovery Defendants have produced related to their communications and relationships

  with Tianjin . . . .” Decl. of Erik Stidham ¶ 5. In response, Defendants assert that “Bonumose did

  not communicate with Defendants regarding any topic between serving the Virginia Tech

  production and seeking judicial intervention.” Defs.’ Br. 5. They note that Plaintiffs filed this

  motion to compel only “seven days after delivering the Virginia Tech materials.” Id.

         Federal district courts have broad discretion under Rule 37 to determine whether a

  movant has adequately conferred with the opposing party prior to filing a motion to compel. See

  Marshall v. GE Marshall, Inc., No. 2:09cv198, 2012 WL 5831195, at *4 (N.D. Ind. Nov. 15,

  2012). In making such a determination, a court must consider the totality of the circumstances

  surrounding the discovery process. Id. (citing Kidwiler v. Progressive Paloverde Ins. Co., 192

  F.R.D. 193 (N.D. W. Va. 2000)). In circumstances where past efforts to confer demonstrate that

  subsequent efforts would have been futile, courts have found that additional attempts to confer

  are not required. See U.S. Fire Ins. Co. v. Bunge N. Am., Inc., No. 05-cv-2192, 2008 WL

  2222022, at *2 (D. Kan. May 28, 2008); Prescient Partners, L.P. v. Fieldcrest Cannon, Inc., No.

  96 Civ. 7590, 1998 WL 67672, at *3–4 (S.D.N.Y. Feb. 18, 1998) (citing cases where courts

  excused the meet-and-confer requirement when efforts to compromise informally would have

  been futile). The purpose of requiring parties to meet and confer before coming back to court is



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  to “curtail undue delay and expense in the administration of justice,” Autotech Techs. Ltd. P’ship

  v. Automationdirect.com, Inc., No. 05-C-5488, 2007 WL 2736681, at *2 (N.D. Ill. Sept. 10,

  2007) (quoting N.D. Ill. L.R. 37.2), and “weed out disputes that can be amicably resolved

  without judicial intervention, thereby freeing the court’s resources for the disputes that truly

  cannot,” Physicians Healthsource, Inc. v. A-S Medication Sols., LLC, No. 12-cv-5105, 2017 WL

  3922175, at *4 (N.D. Ill. Sept. 7, 2017).

         Here, Defendants do not challenge Bonumose’s assertion that they have “repeatedly” met

  and conferred with defense counsel concerning Bonumose’s discovery request for materials

  related to Defendants’ communications and relationships with Tianjin. Indeed, during the July 2

  and August 30 discovery hearings, Defendants portray their efforts to confer with Bonumose on

  this issue as exhaustive. See Aug. 30, 2018 Hr’g Tr. 21:9–22:12 (referencing the parties’

  correspondence and discussions over disclosure of material relating to Defendants’ relationship

  with Tianjin); July 2, 2018 Hr’g Tr. 85:10–14 (referencing a “meet and confer” about discovery

  on Defendants’ communications with Tianjin). Instead, Defendants argue that Bonumouse did

  not confer with them regarding the most recent revelation from Bonumose’s receipt of Zhang’s

  materials from Virginia Tech. Defs.’ Br. 5.

         I find that Bonumose’s prior attempts to confer with Defendants in a good-faith effort to

  obtain materials relating to Defendants’ relationship with Tianjin before seeking the Court’s

  intervention through this motion were sufficient to satisfy the meet-and-confer requirements

  under Rule 37(a). Bonumose complained to Defendants on multiple occasions that they had not

  received all materials regarding communications between Defendants and Tianjin about

  Tagatose. Defendants supplemented some discovery responses, but ultimately asserted that all

  relevant communications had been produced, whether Bonumose believed it or not. Moreover,



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   even when confronted with the discovery materials from Virginia Tech, Defendants continued to

   take an ambiguous position on why these materials had not been produced. Compare, e.g., Defs.’

   Br. in Opp’n to Mot. for Expedited Consideration 2–3 (arguing that the Chengdu Contract has

   “no legal effect or significance in this case”), ECF No.164, with Oct. 12, 2018 Hr’g Tr. 34:1–11

   (Defendants’ counsel indicating that they are not asserting the Virginia Tech materials are

   irrelevant for discovery purposes), ECF No. 190.

           Perhaps Defendants may have been willing to perform an additional review of their

   system to ensure that they had not accidentally overlooked relevant materials had Bonumose

   conferred with them before filing this motion. See Oct. 12, 2018 Hr’g Tr. 33:21–34:11

   (indicating that Defendants were “taking steps to correct” an apparent “hole in [their]

   production”). Nevertheless, it is highly unlikely that Defendants would have been amenable to

   much of the relief sought by Bonumose in this motion, such as retaining a third-party vendor to

   take control of their materials or requesting and producing all materials in the possession of the

   government. 3 Indeed, they currently oppose such relief. Where the parties have conferred for a

   number of months regarding a particular topic of discovery and they have raised the discovery

   dispute twice before with the Court, I cannot find that Rule 37 requires the party seeking

   discovery to confront the non-producing party with evidence purportedly showing non-

   compliance with its discovery obligations. Certainly Bonumose could have discussed the

   Virginia Tech materials with Defendants and possibly narrowed or eliminated some of the issues

   raised in its motion, but many of the issues undoubtedly would have remained for the Court to



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     Defendants also take the position that a protective order entered by Chief United States District Judge
   Michael F. Urbanski in a parallel criminal matter against Defendant Zhang prohibited Defendants from
   disclosing certain materials to Bonumose. See Oct. 12, 2018 Hr’g Tr. 22:1–15. Accordingly, it is not clear
   that Defendants would have even been willing to turn over any additional materials absent Court
   intervention.

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   resolve. See In re: Fluidmaster, Inc., No.1:14cv5696, 2018 WL 505089, at *3 (N.D. Ill. Jan. 22,

   2018) (refusing to deny a Rule 37 motion on the basis of the movant’s failure to meet and confer

   where the parties had already resolved one issue, and a conference between the parties could not

   have resolved the issues remaining before the court). Considering these circumstances, I find that

   Bonumose’s counsel reasonably discharged their obligation to confer with opposing counsel

   about securing materials evidencing Defendants’ relationship with Tianjin as it relates to

   Tagatose.

   C.     Responses to Discovery Requests

          Next, I must assess whether Defendants failed to adequately respond to Bonumose’s

   discovery requests. See Fed. R. Civ. P. 37(a)(3)(B), (4). Bonumose argues that Defendants failed

   to provide requested information detailing the relationship between Defendants and Tianjin, even

   though recently uncovered documents suggest such information exists. See Pls.’ Br. 2–3. In their

   opposition brief, Defendants argue that they satisfied their duty to preserve potentially relevant

   documents by, among other things, circulating a litigation hold notice and identifying and

   “harvest[ing] an initial pass of potentially relevant documents” after retaining counsel. Defs.’ Br.

   11. Defendants further argue that their reasonable efforts to preserve potentially discoverable

   information were hampered by the Government’s seizure of Defendant Zhang’s computer,

   smartphone, and other electronic devices in September 2017. Id. at 2, 12. They state that at least

   some of the materials on those devices are subject to a strict protective order in the parallel

   criminal matter. They contend the protective order prohibits them “from providing further detail

   or information regarding the nature or extent of the seizure . . . .” Id. at 2 n.2. Defendants argue

   that they were unable, and thus not obligated, to produce all of the requested documents because




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   such documents were not in their “possession, custody, or control” following the Government’s

   seizure. Id. at 7, 13.

           The Court notes several problems with this position. First, it is unclear why all relevant

   documents were not found during Defendants’ so-called “harvest[ing]” process, which initially

   took place prior to Zhang’s arrest. Defendants assert that they retained counsel in June 2017,

   after which they collected “[a] first wave of potentially relevant sources and evidence . . .

   through application of broad search terms, including several email addresses, ‘Bonumose’,

   ‘Terebinth’, ‘Rogers’, ‘Wichelecki’, ‘Tagatose’, ‘TIB’, ‘Tianjin Institute’, and several Chinese-

   language variants of tagatose and Tianjin.” Defs.’ Br. 3. These assertions do not adequately

   explain why the use of certain search terms, such as “Tianjin Institute” and “Tagatose,” did not

   return documents containing those terms, as would be expected. Moreover, Defendants fail to

   explain the source of the materials harvested, such as whether they were collected from Zhang’s

   Tianjin email account or social media sources such as WeChat. 4

           Defendants also do not sufficiently explain Zhang’s apparent efforts to recover lost

   material following the Government’s seizure of his property. They represent that Zhang was able

   “to recover partial access to his Virginia Tech email account by logging in and downloading

   available information onto his laptop.” Defs.’ Br. 4. They further assert that their “investigation

   is ongoing” and that the process “appears to have suffered from glitches and technical

   shortcomings that Defendants will seek to remedy.” Id. Defendants do not explain, however,

   why they apparently relied on Zhang alone to recover lost material (rather than, perhaps,
   4
     Bonumose also argues, and the Court agrees, that Defendants fail to explain how the seizure of physical
   electronic devices would necessarily interfere with Defendants’ ability to access documents that might
   exist on cloud-based platforms, such as WeChat. See Pls.’ Reply Br. 15 n.11. Indeed, Defendants note in
   their brief that Zhang received an unexecuted draft of the Chengdu Contract through a WeChat
   conversation on which he was copied. Defs.’ Br. 14. Defendants do not address whether they made any
   initial effort to search for cloud-based documents or later attempted to recover any copies of documents
   that were lost.

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   retaining someone with expertise in digital data recovery), nor do they identify the particular

   information that Zhang will now try to recover or any sort of timeline for completion.

   Ultimately, these gaps in Defendants’ explanation necessitate some degree of Court intervention

   to ensure that Bonumose receives full and accurate responses to their legitimate discovery

   requests.

           Second, while the language regarding “possession, custody, or control” of documents and

   electronically stored information is a prerequisite to requiring production under Rule 34, no such

   condition exists with regard to interrogatory responses under Rule 33. See Fed. R. Civ. P.

   33(b)(3)(“Each interrogatory must, to the extent it is not objected to, be answered separately and

   fully in writing under oath.”). In his initial response to Plaintiffs’ interrogatory requesting a

   description of all interactions with Tianjin since January 1, 2015, Zhang unilaterally redefined

   the parameters of the inquiry to include only “confidential information concerning the Assigned

   Assets” that took place “on or after April 1, 2016,” and then stated, “no such interactions have

   occurred.” Pls.’ Mot. to Compel Ex. H, at 4. 5 Even if this reinterpretation were acceptable––it

   was not, Zhang still did not provide a convincing explanation why his interrogatory response

   made no mention of the Chengdu Contract, which was dated September 2016 and identifies

   Zhang as the “project contact person” for Tianjin, id. Ex. B, at 2. 6 Cf. Diersen v. Walker, No. 00-

   C-2437, 2003 WL 21317276, at * (N.D. Ill. June 6, 2003) (“A party cannot destroy documents

   based solely on its own version of the proper scope of the complaint.”). Instead, Defendants

   argued that the document was not relevant—a contention with which I must disagree, at least for

   5
    Though Defendants later stated at the July 2 hearing that they would “provide information regarding any
   allegedly improper disclosure to Tianjin prior to [April 1, 2016],” July 2, 2018 Hr’g Tr. 70:14–21, their
   supplemental interrogatory response was not materially different with regard to communications that took
   place on or after that date, see Pls.’ Mot. to Compel Ex. J, at 13–14.
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    The Chengdu Contract lists September 2016 as the “Signed on” date and states that the contract’s
   “Effective term” will run from October 2016 to September 2018. Pls.’ Br. Ex. B, at 1.

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   discovery purposes. 7 See Downs v. Va. Health Sys., No. 5:13cv83, 2014 WL 12776888, at *2

   (W.D. Va. June 2, 2014). Later, they asserted that “the only reason [Zhang] had the unexecuted

   document at all is because he was copied on a WeChat conversation between representatives of

   Chengdu and [Tianjin].” Defs.’ Br. 14 (capitalization altered). They further represent that “Zhang

   advised [Tianjin] that he could play no role because of his obligations to Bonumose,” id., but

   they have not produced any material to corroborate their version of events, see Pls.’ Reply Br.

   Decl. in Supp. ¶ 7. Even accepting Defendants’ benign characterization of these facts as true, it

   is inconsistent with Zhang’s statement in his interrogatory response that “no such interactions”

   took place after April 1, 2016.

           Counsel’s explanation of Zhang’s interrogatory response has created even more

   ambiguity on this issue. In his supplemental interrogatory response, Zhang stated that he “had

   limited interactions with [Tianjin] relating to tagatose-related technologies” between January 1,

   2015 and April 1, 2016, Pls.’ Mot. to Compel, Ex. J, at 13 (emphasis added), but defense

   counsel stated at the October 12 hearing that Zhang “could not possibly, in an interrogatory

   response, respond to every possible communication regarding tagatose. . . . There’s just too

   much,” Oct. 12, 2018 Hr’g Tr. 28:15–18. Thus, counsel’s statement indicating that “too much”

   information existed about Zhang’s Tagatose-related communications seems to contradict

   Zhang’s interrogatory response that those interactions were limited.

           Zhang’s interrogatory responses also fail to identify the circumstances surrounding the

   Zhang Article, which lists Tianjin in the header and discusses Tagatose. Defendants state that

   “Zhang sent [this] document to a third party Chinese entity in January 2016, subject to an NDA,

   in furtherance of a potential tagatose-related partnership between that entity and CFB.” Defs.’


   7
    Defendants later essentially conceded the relevance of the Chengdu contract. See Oct. 12, 2018 Hr’g Tr.
   34:1–11.
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   Br. 18. They further assert that Tianjin was not involved with the article and that Zhang drafted

   the article using a Tianjin template and cited his affiliation with Tianjin because he believed the

   third party “entity would take CFB’s partnership offer more seriously.” Id. at 18–19.

   Notwithstanding this explanation, the apparent link between Zhang and Tianjin shown in the

   article about Tagatose demonstrates that the circumstances Defendants now describe should have

   been disclosed in an interrogatory and the document itself produced. See Browder v. City of

   Albuquerque, 187 F. Supp. 3d 1288, 1298 (D.N.M. 2016) (noting that it is “not up to Defendants

   to decide what evidence is or is not relevant to Plaintiffs’ case” because “‘[t]he ultimate decision

   of what is relevant is not determined by a party’s subjective assessment through its own

   perception of self-interest’” (quoting United States ex rel. Baker v. Cmty. Health Sys., Inc., No.

   Civ. 05-279, 2012 WL 12294413, at *11 (D.N.M. Aug. 31, 2012))).

          Third, Defendants’ allegation that they did not have “possession, custody, or control” of

   documents identified in Bonumose’s request for production is belied by the fact that Defendants

   produced the Zhang Article to Plaintiffs on the same day that they filed their opposition brief to

   the instant motion. See Pls.’ Reply Br., Decl. in Supp. ¶¶ 3–4. Defendants have not explained

   why they did not produce it earlier. The documents obtained by Bonumose from Virginia Tech

   and the absence of a convincing explanation from Defendants why they themselves did not

   produce these documents leave unanswered significant questions about the adequacy of

   Defendants’ discovery responses and whether they possess additional discoverable information

   that has not been produced.

          Finally, the information before the Court suggests that Defendants have provided

   incomplete and evasive discovery responses. Under Rule 37, “an evasive or incomplete

   disclosure, answer, or response must be treated as a failure to disclose, answer, or respond.” Fed.



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   R. Civ. P. 37(a)(4). The record shows that Defendants have repeatedly and unequivocally told

   both opposing counsel and this Court that they already produced all relevant documents

   concerning the relationship between themselves and Tianjin. Now they represent to the Court

   that during the course of this case, they purportedly lost control over devices and materials that

   contained discoverable information. Defs.’ Br. 6. Defendants assert that they advised Bonumose

   of this situation in their initial disclosures. See id. at 4 (noting that Defendants’ initial disclosures

   advised Bonumose of “their belief that additional relevant materials were possessed by third

   parties, such as ‘the Federal Bureau of Investigation and/or U.S. Attorney’”). This vague

   reference is no substitute for a forthright notice to Bonumose that the Defendants suspected, at

   the very least, that discoverable information had been removed from their possession or control

   by a third party such as Tianjin or the United States during the course of this litigation.

           Additionally, Defendants have offered opaque and unconvincing reasons for not

   producing apparently responsive documents. They assert, correctly, that a party must have

   “possession, custody, or control” of documents before an obligation to produce can attach under

   Rule 34. See id. at 11. As noted above, however, Defendants produced the Zhang Article to

   Bonumose just prior to filing their opposition brief, see Decl. of Erik Stidham ¶¶ 3–5,

   evidencing their possession, custody, and control of this document at least by the time they filed

   their response. Moreover, Defendants assert that Zhang’s seized materials are “subject to a strict

   protective order in the ongoing criminal proceeding” and that it is their understanding “they are

   prohibited under the terms of the protective order . . . from providing further detail or

   information regarding the nature or extent of the seizure. . . .” Defs.’ Br. 2 & n.2. This statement

   begs the question what other materials or information Defendants have withheld under their

   belief that the protective order forbade their production. Defendants also state that “Zhang



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   repeatedly, but unsuccessfully, sought relief [from the protective order] for purposes of this

   litigation.” Id. at 12. The order at issue was entered on July 13, 2018, by Chief Judge Urbanski in

   the parallel criminal matter, and it instructed that Zhang “be permitted to share with his civil

   counsel any and all information pre-existing on Dr. Zhang’s computer, including e-mails and/or

   documents, and to allow civil counsel to use such documents in the pending civil case.” See

   Order Granting Mot. to Clarify, United States v. Zhang, No. 7:17cr73, ECF No. 109. During the

   October 12 hearing in this civil matter, Zhang’s counsel continued to express uncertainty about

   their obligations under the revised protective order, see Oct. 12, 2018 Hr’g Tr. 22:1–15, but their

   reluctance goes too far. Defense counsel in the criminal case sought the initial relaxing of the

   protective order and then sought, on multiple occasions, clarification to allow disclosure of

   Zhang’s own materials to counsel in this civil case. See generally Def.’s Mots. re: Order of Mar.

   5, 2018, United States v. Zhang, No. 7:17cr73, ECF Nos. 100, 106, 108. If counsel still had

   doubts about their ability to use or disclose Zhang’s own materials in the civil case, they

   certainly could have requested further clarification from Chief Judge Urbanski.

          Furthermore, it is clear that issues and evidence in the criminal and civil case overlap.

   Thus, the undersigned cannot countenance the notion that Chief Judge Urbanski’s orders allowed

   Zhang’s own materials to be provided to counsel for their use in his civil case, but did not also

   allow Zhang’s counsel to disclose information and documents to the opposing side when

   required by the Federal Rules of Civil Procedure. See Hickman v. Taylor, 329 U.S. 495, 507

   (1947) (“Mutual knowledge of all the relevant facts gathered by both parties is essential to

   proper litigation.”). Defendants and their counsel must disclose any improperly withheld

   documents and information.




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   Finally, Defendants argue that sanctions are inappropriate where Bonumose was not unfairly

   prejudiced by deficiencies in Defendants’ discovery responses. Defs.’ Br. 17. Defendants argue

   that Plaintiffs were not prejudiced because the discovery process remains open and ongoing. See

   Oct. 12, 2018 Hr’g Tr. 19:16–25. Considering the time constraints imposed by a case schedule, a

   party may suffer prejudice from missed opportunities to make use of discoverable information

   when another party delays its production. Indeed, in Victor Stanley, Inc. v. Creative Pipe, Inc.,

   the case on which Defendants rely to support their argument, the court stated that prejudice is

   typically found “where a party’s ability to present its case or to defend is compromised.” 269

   F.R.D. 497, 532 (D. Md. 2010) (citing Silvestri v. Gen. Motors Corp., 271 F.3d 583, 593–94 (4th

   Cir. 2001)). Bonumose does not appear to have reached the point where its case is compromised

   by the Defendants’ inadequate production. But the continuing delay in production of

   discoverable information could be prejudicial if not corrected. That is why a court should not sit

   on its hands and await the loss of potentially relevant, discoverable material before taking some

   action to ensure the parties are fulfilling their discovery obligations. Courts have broad discretion

   to fashion appropriate relief in order to remedy discovery abuses at various stages of a

   proceeding. In re Cox Motor Express of Greensboro, Inc., No. 14-10468, 2016 WL 6661318, at

   *4 (Bankr. M.D.N.C. Nov. 4, 2016); see also Eramo v. Rolling Stone, LLC, 314 F.R.D. 205, 209

   (W.D. Va. 2016) (“District courts generally have broad discretion in managing discovery,

   including whether to grant or deny a motion to compel.” (citing Lone Star Steakhouse & Saloon,

   Inc. v. Alpha of Va., 43 F.3d 922, 929 (4th Cir. 1995)).

          Here, Bonumose seeks, among other relief, the opportunity to depose Zhang as the

   custodian of Defendants’ materials in order to uncover information about Defendants’ retention

   efforts and identify any other discoverable material. Pls.’ Reply Br. 23; see also Oct. 12, 2018



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   Hr’g Tr. 41:10–19 (identifying Zhang as the only individual qualified to testify as the custodian

   of Defendants’ materials). The circumstances in this case warrant imposition of interim measures

   to compel Defendants to produce any responsive documents in their possession and respond fully

   to interrogatories as well as to allow Bonumose the opportunity to explore Defendants’

   document retention practices, assess the scope of Defendants’ control over discoverable

   information, and ascertain whether any documents have been lost. Accordingly, the Court finds

   that Bonumose is entitled to depose Zhang related to his and CFB’s document retention and the

   adequacy of their document production and discovery responses in this case. In advance of this

   deposition, the Court will also require Defendants to turn over any and all material in their

   possession, custody, or control pertaining to communications or dealings between Defendants

   and Tianjin since January 1, 2015, that in any way relate—directly or indirectly—to Tagatose.

          The Court will take under advisement and defer ruling on the other relief sought by

   Bonumose, including expense-shifting sanctions. Following the deposition of Defendant Zhang,

   Bonumose may file a supplemental motion seeking to remedy any remaining deficiencies in

   Defendants’ discovery responses.

                                       III. Conclusion and Order

          For the foregoing reasons, Bonumose’s motion to compel, ECF No. 160, is GRANTED

   IN PART. Accordingly, it is hereby ORDERED, as follows:

           1. Defendants shall not delete or alter any data or documents relating to (1) Tianjin; (2)

   Chengdu; (3) Zhang’s Tianjin email account (zhang_yh@tib.cas.cn); (4) Zhang’s other email

   accounts; or (5) Tagatose.

          2. Within fourteen days from the date of any findings of fact and conclusions of law

   entered by Chief Judge Urbanski in United States v. Zhang, No. 7:17cr73, the parties shall



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   schedule a deposition of Defendant Yi-Heng Percival Zhang, to take place on a mutually

   agreeable date. This deposition shall be conducted in accordance Rule 30(b)(6) of the Federal

   Rules of Civil Procedure and shall be limited to Zhang and CFB’s document retention efforts, the

   scope of Defendants’ control over discoverable information, whether any relevant documents

   have been lost, and whether other potentially discoverable material have not yet been produced

   by Defendants. The deposition shall not count towards the time allowed for any subsequent

   depositions of Zhang personally or CFB as an organization under Rule 30(b)(6).

          3. Within fourteen days of the date of this Order, Defendants shall turn over to the

   Plaintiffs any and all material in their possession, custody, or control pertaining to

   communications or dealings between Defendants and Tianjin that in any way relate—directly or

   indirectly—to Tagatose covering the period of January 1, 2015, to the present. Defendants shall

   undertake all practicable efforts to acquire information that may have been misplaced due to the

   seizure of materials from Zhang, including a supplemental search of their servers for relevant

   information and a search of any materials stored on cloud-based systems, such as WeChat. If

   necessary, Defendants should retain the services of an outside vendor specializing in data

   recovery to obtain all relevant information. Counsel for Defendants shall apprise counsel for

   Bonumose as to any materials that they have not been able to access and the reason they have

   been unable to access that information.

          4. Following the deposition of Zhang, Bonumose may file a supplemental motion seeking

   to remedy any remaining deficiencies in Defendants’ production. Such a motion may seek any

   relief available under Rule 37 or any other applicable law. The Court defers ruling on the other

   relief sought in this motion to compel, including the request for attorney’s fees.

          It is so ORDERED.



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                                      ENTERED: October 31, 2018



                                      Joel C. Hoppe
                                      United States Magistrate Judge




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